Case 18-24677-JKO Doc 28 Filed 02/07/19 Pagelof1

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION
www.flsb.uscourts.gov

In re: Case No.: 18-24677-JKO
BG CAPITAL MANAGEMENT
SOUTH FLORIDA, LLC, Chapter 11

Debtor-in-Possession.

AFFIDAVIT OF DISBURSEMENTS FOR THE PERIODS NOVEMBER 7, 2018
TO DECEMBER 31, 2018; AND JANUARY 1, 2019 TO JANUARY 16, 2019

State of Florida
)ss:
County of Broward

BEFORE ME, the undersigned authority, personally appeared Robert Genovese (the
“Debtor”), who being duly sworn deposes and says:

I. I am over 18 years of age and the information contained in this Affidavit is true
and correct based upon my personal knowledge.

2. Based upon my review, | have made disbursements of $43,951.03 for the period
November 7, 2018 through December 31, 2018; and $618.75 for the period January |, 2019
through January 16, 2019.

FURTHER AFFIANT SAYETH NAUGHT.

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Robert Genovese

BEFORE ME, the undersigned authority, this day personally appeared Robert Genovese
who, after being duly sworn, deposes and states she is the person who acknowledged and swore
before me that said Affidavit was truthful and complete to the best of his knowledge and ability.

WITNESS my hand and seal this 7 day of Lehane. 019.

Notary Public State of Florida
Kirstie Ann Ward

My Commission NA 059778
Expires 01/26/2022

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My commission expires:
Personally known to me
Produced the following identification:

